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(Rev. slsz)

 

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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYET”IEVILLE DIVISION
RAYMOND SETZKE PLAINTIFF
v. civil No. 07- 5 / 79
STEVE WHITMILL, Former Sherif`f
Washington County, Arkansas;
OFFICER GRAMMAR, Fayetteville
Police Department; DEPUTY COKER,
Washington County Sheriff" s Department;
OFFICER BILLY DUN`N, Johnson Police
Departrnent; SCOTT YOUNG, Washington
County Shen`ff"s Department', FRANK
JOHNSON, Fayetteville Police Department;
OFFICER SKELTON, Washington County
Sherif`f" s Department; VERNON SIZEMORE,
Police Chief of Johnson, Arkansas DEFENDANTS
QR_LB

Raymond Setzke, currently an inmate of the Benton County Detention Center, has submitted
for filing in this district a pro se civil rights action under 42 U.S.C. § 1983. We find the complaint
should be provisionally filed prior to a determination regarding plaintifi’ s status as a pauper and
service ofprocess. The United States District Clerk is directed to file the complaint

With his complaint, plaintiff submitted an in forma pauperis (IFP) application However, he
submitted only the first page of the IFP application and did not have the certification regarding inmate
funds held in his name completed For this reason, the clerk is directed to send the plaintiff a
blank IFP application Plaintiff is given until October 26, 2007, to complete the lFP application
including having the certificate portion of the IFP application completed by the appropriate detention

center official and return the application to this court for review and filing or pay the $3 50 filing fee.

If the plaintiff fails to return the completed IFP application or pay the $350 filing fee by

 

 

 

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October 26, 2007, the complaint will become subject to summary dismissal for failure to obey

an order of the court.

IT IS SO ORDER_ED this q day of Octo`ber 2007.

    
 

. JAMES R. MARSCHEWSKI
ITED STATES MAGISTRATE JUDGE

      
   

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